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                                                 February 20, 2024

     BY CM/ECF

     The Honorable Stephanos Bibas
     James A. Byrne U.S. Courthouse
     601 Market Street
     Philadelphia, PA 19106

             Re: Elemica, Inc. v. ecMarket Inc., C.A. No. 21-893-SB

     Dear Judge Bibas:

            The Parties jointly write you to advise that Mediation was conducted before Magistrate
     Judge Hatcher on February 15, 2024. The Parties were unable to resolve the matter at this time,
     and therefore, intend to proceed with the litigation under the Scheduling Order.

             On February 20, 2024, the Parties participated in a “meet and confer” conference to address
     certain motions that each party intend to file in light of the unsuccessful Mediation. Due to those
     forthcoming contested motions and also due to the Parties’ recent focus over the past thirty days
     on the prospect of settlement through Mediation, the Parties respectfully seek a short extension of
     the current March 22, 2024, deadline for the filing of dispositive motions set forth in the
     Scheduling Order. The Parties propose the following schedule:

                      -   April 5, 2024 - Deadline for filing of dispositive motions;
                      -   April 26, 2024 - Deadline for filing of response briefs in opposition to any
                          dispositive motions; and
                      -   May 10, 2024 - Deadline for filing of reply briefs in support of any dispositive
                          motions.

            This will not impact the Pre-Trial and Trial deadlines. Please let us know if the foregoing
     schedule is acceptable to the Court. Thank you.




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                                               Respectfully submitted,

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